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                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUⅣ lBIA

Electronic Privacy Information Center,                   )

                                                         )
                           Plaintiff,                    )

                                                         )
                  v.                                     )CaSe l:16‐ cv¨ 1402(ABJ)
                                                         )
U.S. Department of Justice,                              )

                                                         )

                           Defendant.                    )


          I, Daniel F. Van Horn, do hereby declare that:

          l.      I am   an Assistant United States Attorney for the   District of Columbia. I have held

that position since 1992. I am currently assigned as the Chief of the Office's Civil Division. I

have been a practicing attorney in public and private sector positions in the District of Columbia

for more than 39 years.

          2.      Document 6 on the Court's electronic civil docket for the above-captioned civil

action includes an Affidavit of Mailing (Document 6-4) in which a representative of the plaintiff

states:

          On the 6th day of July, 2016,I caused to be deposited in the United States Mail a
          copy of the surtmons and complaint in the above captioned case, postage prepaid,
          return receipt requested, restricted delivery, addressed to the following defendant:
          U.S Attomey forlhe District of Columbia, clo Civil Process Clerk, 555 4th St., NW;
          Washinglon, DC 20530. I have received the receipt for certified mail, No. 7015
          1520 0000 5320 5183 (attached hereto), indicating that delivery of the summons
          and complaint was made upon said defendant on the 1lth day of July, 2016.

No return receipt for the referenced certified mail item is attached to Document 6, but a USPS

Tracking print-out (Document 6-5) that is attached to Document 6 states that item number 7015

1520 0000 5320 5183 was delivered at4:43 a.m. on July 11,2016, to "WASHINGTON, D.C.

20530".

                                                                                       DEFENDANT'S
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        3.      The United States Attorney's Office for the District of Columbia is located at 555

Fourth Street, NW, Washington, D.C., the address to which item number 7015 1520 0000 5320

5183 was sent. However, because of the safety precautions implemented in response to the

anthrax attacks in 2001. mail addressed to our Office is initially routed through the main mail room

fbr the Department of Justice. This is accomplished through use of the ZIP Code20530, and does

at times result in delayed delivery or misrouting of mail intended for our Office, as indicated in our

Office's latest Fed. R. Civ. P. 4 letter that was sent from the United States Attomey to the Court's

Clerk on June 16,2016. A copy of that Rule 4 letter is attached.

       4.       Only certain employees of the United States Attorney's Office are authorizedto

receive service of civil actions on behalf of the United States   Attomey. None of the personnel

who work at the Department of Justice's mail room are employees of our Ofhce, none of them

have been designated to function as a   civil process clerk for our Office, and none of them    are

authorized to receive service of civil actions on behalf of the United States Attomey.

       5.       Our Office's procedure for recording receipt of service in a civil action is for a civil

process clerk or other authorized person to write the date on which he or she receives the summons

and complaint and the name of the case and the     civil action number in   a calendar book (the

"Service Book") maintained for that purpose. I have reviewed the entries made in the Service

Book starting on July 11,2016, and found no entry reflecting receipt of the summons and

complaint for the above-captioned civil action.

       6.       The Civil Division of our Office also maintains a Certified Mail Log with the item

numbers fbr all incoming certitled mail received by the Civil     Division. A member of'the Civil

Division's staff has reviewed the entries made in that Certified Mail Log fbr the period starting on



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July 11,2016, and has informed me that there is no entry reflecting receipt of item number 7015

1520 0000 5320 5183.

        7.         I first learned of the above-captioned   case on   August 16,2016, when I received an

email sent that same day from an attorney at the Department of Justice inquiring whether an

attorney in our Otfice had been assigned to the case. To the best of my knowledge, no one in our

Office was aware of plaintiff s attempt to effect service on the United States Attorney's Offrce

prior to the receipt of that email.

        8.         I have directed   a member   of the Civil Division's staff to inquire whether the

Department of Justice's main mail room has any record of item number 7015 1520 0000 5320

5183, but have not yet received any information about that certified mail package or what became

of its contents.

        I   declare under penalty of perjury that the foregoing is true and correct. Executed on

August 17,2016.


                                                            DANIEL F.VAN HORN
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                                                       JudiciaD' Center
                                                       555   Fadh   St., N.W.
                                                       llashirtgton, D.C. 205j0



                                                      June 16, 201 6

Ms. Angela D. Caesar
Clerk of Court
United States District Court
  for the District of Columbia
333 Constitution Ave., N.W,
Washington, D.C. 20001

       Re:     Service of Process on United States Attomey's Office in Civil Actions

Deal Ms. Caesar:

        This tetter is written puisuant to Fed. R. Civ. P.4(i)(lXA) to provide notice ofthe
persons at the United States Attomey's Offtce who are designated to leceive service ofprocess
on behalfofthe United States in civil actions filed in the United States District Courl for the
District of Columbia. This letter supersedes and replaces all writings previously filed with the
Clerk's Office with respect to this subject.

         Service ofprocess by hand delivery may be,effected at our Office's Civil Division, which
is located on the Fourth Floor of 501 Third Street, N.W., Washington, D.C. The Civil Division's
Docket Clerk(s), Lead Legal Assistant. Supervisory Legal Support Specialist, and such other
Civil Division clerical staff as the Supelvisory Legal Support Specialist may designate fi'om time
to time, are the clerical ernployees to whom hand delivery ofprocess may be made.

        Service ofprocess by mail may be effected by sending a copy ofthe summons and
complaint by registered or certified mail addressed to: Civil Process Clerk, United States
Attomey's Office. 555 Foudh Street, N.W., Washington, D.C. 20530. Please note that the
address for service by rnail is different from the addless for service by hand, and that those two
addresses should lel be used interchangeably.

        Litigants should be advised tlrat hand delivery is our prefened means for service of
process because, due to safety and security procedures that were put in place following the
anthrax attacks in 2001 (also known as Amerithrax from the FBI case narne), all mail sent to oul
Oftice is initially routed through the main mail room at the Department of Justice, which can
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occasionally result in the delay or misdelivery of our rnail. In addition, when service is rnade by
mai1, it is our position that service is not perfected until actual receipt by a Civil Process Clerk.
See Morse t. Elmira Counfiy Chib,752F.2d35,4l (2d Cir. 1984) ("service was effective where
the recipient received the rnail and accordingly obtained actual notice") (emphasis added). See
generally Alutphy Brothers v, Miclletle Pipe Stringing, 526 U.S. 342, 347 (1999) ("Service of
process, under longstanding tmdition in our system ofjustice, is fundamental to any procedural
imposition on a named defendant"),

         Litigants who sue Federal defendants should also be advised that Fed. R. Civ. P. a(d)(l),
which imposes a duty to avoid umecessary expenses of serving the summons on "[a]n
individual, corporation, or association that is subject to service under Fed. R. Civ. P. 4(e), (f), or
(h)," does not apply to service on the United States and its agencies, corporations, officers, aad
employees, which is govemed by Fed. R. Civ. P. 4(i). In addition, such litigants should be
advised that the United States Attomey's Office is not authorized to accept service on behalfof
the Aftomey General ofthe United States or other federal agencies, corporations, officers, or
employees. Thus, if service upon any such entities and persons is required by Fed. R. Civ. P.
4(i), then they must be served separately ald in addition to service upon our Office.

        Any questions about service ofcivil actions on the United States Attomey's Office, or
about the matters handied by the Offrce's Civil Division, can be directed either to the Civil
Chiet Daniel F. Van Horn, or to one of the Deputy Chiefs: Doris Coles Huff, Robin M'
Meriweather, and I(eith V. Morgan. The Civil Division can be contacted during normal business
hours ai (202) 252-2500. The direct line telephone numbers for the Civil Chief and Deputy
Chiefs are as follows:

              Daniel F. Van Hom                                      (202)   252-2s06
               Doris Coles Huff                                      (202)   252-2ss7
             Robin M. Meriweather                                    (202)   252-2s38
               Keith V. Morgan                                       (202)   2s2-2s37

       For emergency matters outside nomal business hours when no one can be reached at the
Civil Division's general telephone number, the Civil Chief and Deputy Cbiefs can be cortacted
tluough tlre Department of Justice Comrand Celter at (202) 5 14-5000.

                                                               Sincerely,




                                                               CHANNING D. PH]LLPS
                                                               United States Attomey


cc: Hon. Beryl A. Howell, ChiefJudge
